Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 1 of 13 PageID #: 528




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 Richard Roe,                                   19-cv-04694

                            Plaintiff,          PKC-RER

                -against-

 St. John’s University and Jane Doe,

                            Defendants.




   DEFENDANT JANE DOE’S REPLY MEMORANDUM OF LAW TO ADDRESS THE
   ISSUES OF PLAINTIFF’S USE OF A PSEUDONYM IN THIS CASE AND LACK OF
   JURISDICTION SHOULD ST. JOHN’S UNIVERSITY’S MOTION TO DISMISS BE
                                 GRANTED




                                                BAKER HOSTETLER LLP

                                                Melissa M. Carvalho, Esq.
                                                Chardaie C. Charlemagne, Esq.
                                                45 Rockefeller Plaza
                                                New York, New York 10111
                                                Tel: 212.589.4200
                                                Fax: 212.589.4201

                                                Attorneys for Defendant Jane Doe
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 2 of 13 PageID #: 529




                                                   TABLE OF CONTENTS

 ARGUMENT................................................................................................................................. 1
  I.         PLAINTIFF CONCEDES LACK OF JURISDICTION OVER DOE IF ST.
             JOHN’S UNIVERSITY’S MOTION TO DISMISS IS GRANTED........................... 2

  II.        PLAINTIFF SHOULD AMEND THE CAPTION AND PROCEED UNDER HIS
             LEGAL NAME................................................................................................................ 3

             A.       Factors 1 and 2 Weigh Against Plaintiff’s Continued Anonymity ................... 4

             B.       Factors 3-10 Also Weigh Against Plaintiff’s Continued Anonymity ............... 5

 CONCLUSION ............................................................................................................................. 9




                                                                      i
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 3 of 13 PageID #: 530




                                                  TABLE OF AUTHORITIES

                                                                                                                                      Page(s)

 Cases

 A.B. v. C.D.,
    No. 2:17-cv-5840 (DRH) (AYS), 2018 WL 1935999 (E.D.N.Y. Apr. 24,
    2018) ..............................................................................................................................4, 6, 7, 8

 A.B. v. Hofstra Univ.,
    No. 217CV5562 (DRH) (AYS), 2018 WL 1935986 (E.D.N.Y. Apr. 24, 2018) .......................8

 Doe v. Delta Airlines, Inc.,
    310 F.R.D. 222 (S.D.N.Y. 2015) ...............................................................................................7

 Doe v. Skyline Automobiles Inc.,
    375 F. Supp. 3d 401 (S.D.N.Y. 2019)....................................................................................7, 8

 Doe v. Solera Capital LLC,
    No. 18 Civ. 1769 (ER), 2019 WL 1437520 (S.D.N.Y. Mar. 31, 2019),
    reconsideration denied, 2019 WL 5485210 (S.D.N.Y. Oct. 25, 2019) .....................................9

 Doe v. Townes,
    No. 19-cv-8034 (ALC) (OTW), 2020 WL 2395159 (S.D.N.Y. May 12, 2020)................4, 5, 8

 Doe v. Zinsou,
    No. 19 Civ. 7025 (ER), 2019 WL 3564582 (S.D.N.Y. Aug. 6, 2019) ......................................6

 Parker v. Della Rocco,
    252 F.3d 663 (2d Cir. 2001).......................................................................................................2

 Sealed Plaintiff v. Sealed Defendant #1,
    537 F.3d 185 (2d Cir. 2008)...................................................................................................3, 4

 United States v. UCB, Inc.,
    No. 14-CV-2218 (TPG), 2017 WL 838198 (S.D.N.Y. Mar. 3, 2017).......................................6

 Valencia v. Lee,
    316 F.3d 299 (2d Cir. 2003).......................................................................................................3

 Statutes

 28 U.S.C. § 1332..............................................................................................................................2




                                                                        ii
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 4 of 13 PageID #: 531




                                            ARGUMENT

        From the moment Plaintiff left Doe’s dorm room after he sexually assaulted her,

 everyone knew Plaintiff’s identity. Doe did not keep his identity confidential and neither did

 Roe. Doe reported the assault to her roommate, the Parisian police, St. John’s University,

 campus administrators, resident advisors and campus security. When she returned home from

 the St. John’s University Study Abroad program, her allegations were investigated and addressed

 by administration at St. John’s. Every step of the way Plaintiff has intimidated and harassed

 Doe. He labeled her a “liar” and a “slut” and continues to do so in his filings. Suddenly now

 Plaintiff seeks to pursue this action under a pseudonym in violation of the Federal Rules of Civil

 Procedure and Second Circuit case law.

        Plaintiff should proceed under his legal name. Plaintiff chose to hire a lawyer. Plaintiff

 chose to sue St. John’s University and Doe in this Court. Doe did not choose to have her wounds

 re-opened and to be dragged into Court by her attacker seeking to use her, again, for his own self

 interests. Plaintiff wants to return to school at all costs—that is clear. But this cannot be done at

 Doe’s expense. Doe must be allowed to fully defend herself in this case without restrictions.

 Doe supports St. John’s University’s motion on the issue of requiring Plaintiff to proceed in this

 action under his legal name.

        Should St. John’s University’s motion to dismiss be granted in its entirety, Plaintiff has

 conceded that there will be no jurisdiction over Doe. This Court’s supplemental jurisdiction over

 Doe is directly tied to the Title IX claims against St. John’s. The defamation claim that Plaintiff

 asserts against Doe does not implicate a federal question. There is also no diversity between the

 Plaintiff and Doe and none of the factors supporting a court’s discretionary supplemental




                                                   1
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 5 of 13 PageID #: 532




 jurisdiction are applicable in this case. If St. John’s motion is granted in its entirety, this Court

 should discontinue this action for lack of supplemental jurisdiction over Defendant Doe.

 I.     PLAINTIFF CONCEDES LACK OF JURISDICTION OVER DOE IF ST. JOHN’S
        UNIVERSITY’S MOTION TO DISMISS IS GRANTED

        Having presented no opposition to Doe’s jurisdictional argument, Plaintiff concedes that

 if St. John’s University is dismissed from this action, this Court will lack subject matter

 jurisdiction over the remaining defamation claim that Plaintiff asserts against Defendant Doe

 because the claim does not implicate a federal question and there is no diversity between the

 parties pursuant to 28 U.S.C. § 1332.

        The Court’s current supplemental jurisdiction over Doe is directly tied to the Title IX

 claims against St. John’s. If the Title IX claims against St. John’s are dismissed, this court will

 no longer have jurisdiction over the claim against Doe.

        Absent federal question jurisdiction or supplemental jurisdiction, federal district courts

 have subject matter jurisdiction over claims where there is diversity of citizenship between the

 parties and the amount in controversy exceeds $75,000. 28 U.S.C. § 1332. Both Roe and Doe

 are domiciled in New York so there is no diversity of citizenship. (Amend. Compl. at ¶ 1;

 Counterclaims at ¶ 4).

        The Court has the discretion to exercise supplemental jurisdiction, Parker v. Della Rocco,

 252 F.3d 663, 665–68 (2d Cir. 2001), however, when considering: (1) whether state law claims

 implicate the doctrine of preemption; (2) whether judicial economy, convenience, fairness, and

 comity dictate that the case should remain in federal court; (3) the existence of “novel or

 unresolved questions of state law;” and (4) whether state law claims “concern the state’s interest

 in the administration of its government,” Valencia v. Lee, 316 F.3d 299, 306 (2d Cir. 2003), this

 case would not be one necessitating such discretion.



                                                    2
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 6 of 13 PageID #: 533




        Roe (a private party) brings a state law claim of defamation against Doe (a private party).

 There is no state governmental interest involved. A defamation claim is not novel, nor does it

 involve an unresolved question of state law. The New York state courts are well-suited to handle

 the adjudication of this claim.

        The case is also still at the very early pleading stages so judicial economy and

 convenience should not be determinative. Convenience and fairness would also not be

 applicable here as both parties reside in the State of New York and can litigate their dispute in

 New York’s state court.

        None of the four factors supporting a court’s discretionary supplemental jurisdiction are

 applicable in this case. Therefore, if the Court dismisses the Title IX claims against St. John’s—

 the claims providing for the court’s original jurisdiction over this case—then the court must

 dismiss the claim against Doe for lack of subject matter jurisdiction.

 II.    PLAINTIFF SHOULD AMEND THE CAPTION AND PROCEED UNDER HIS
        LEGAL NAME

        Plaintiff only argues that the Second Circuit’s Sealed Plaintiff Factors 1 and 2, alone, are

 determinative and require Plaintiff’s continued anonymity in this case. However, the Second

 Circuit, in Sealed Plaintiff, set forth ten “non-exhaustive” factors that courts should consider

 when a party requests to proceed in an action under a pseudonym. Sealed Plaintiff v. Sealed

 Defendant #1, 537 F.3d 185, 189–90 (2d Cir. 2008). In this case, all ten factors weigh against

 Roe’s anonymity. Indeed, by relying solely on Factors 1 and 2 in support of his argument for

 anonymity, Plaintiff concedes that the remaining eight Sealed Plaintiff factors do not support his

 claim for anonymity.




                                                  3
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 7 of 13 PageID #: 534




     A. Factors 1 and 2 Weigh Against Plaintiff’s Continued Anonymity

         Plaintiff argues that Sealed Plaintiff Factor 1 and Factor 2 support his anonymity in this

 case. Factor 1 considers “[w]hether the litigation involves matters that are highly sensitive and

 of a personal nature.” Sealed Plaintiff, 537 F.3d at 189-190 (internal citations omitted). Factor 2

 considers “[w]hether identification poses a risk of retaliatory physical or mental harm to the

 party seeking to proceed anonymously or even more critically, to innocent non-parties.” Id.

         Plaintiff concludes that these two factors alone weigh in favor of Plaintiff proceeding in

 this action anonymously because the Anonymous Tweet resulted in Roe being “subjected to

 violent threats and experienced physical attacks upon the posting of the Tweet.” (Roe’s

 Memorandum of Law in Opposition, p. 23). But this argument does not meet the requirements

 of the Sealed Plaintiff factors.

         First, “[a] risk of retaliation may be found where there is a history of substantiated prior

 action directed at plaintiff(s) from defendant(s).” Doe v. Townes, No. 19-cv-8034 (ALC)

 (OTW), 2020 WL 2395159, at *4 (S.D.N.Y. May 12, 2020) (citations omitted) (emphasis

 added). Plaintiff does not allege retaliation by the Defendants.

         Second, Plaintiff admits that the Anonymous Tweet included his name as well as a

 photograph of him. (Second Amended Compl. at ¶ 39 and Exhibit 2). He has already been

 identified in the tweet. Where a plaintiff has alleged that he has already suffered from alleged

 defamation, further identification of that plaintiff in a legal action is unlikely to cause mental

 harm that has not already been caused by events that preceded the action. See A.B. v. C.D., No.

 2:17-cv-5840 (DRH) (AYS), 2018 WL 1935999, at *2 (E.D.N.Y. Apr. 24, 2018).

         Lastly, Doe and Mary Smith are both aware of Plaintiff’s identity. St. John’s University

 is also aware of Plaintiff’s identity. In fact, Doe’s roommate, the Paris Campus security guard,




                                                   4
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 8 of 13 PageID #: 535




 the Residence Assistant, the Residence Director, the Paris Campus administrator, St. John’s

 University administrators, the Parisian Police, all of the students participating in the Study

 Abroad Program, all participants involved in the University’s investigations, and everyone that

 Roe, Doe and Mary Smith spoke to about the sexual assaults, are aware of Roe’s identity. The

 only time Plaintiff’s identity has been kept confidential is in this lawsuit. Indeed, a

 defendant’s prior knowledge of a plaintiff’s identity weighs against a finding of retaliatory

 physical or mental harm and “[e]vidence of embarrassment, social stigmatization, and economic

 harm are insufficient to proceed anonymously.” Townes, 2020 WL 2395159, at *4 (citations

 omitted).

         Plaintiff Roe must not be allowed to now hide behind the “personal nature” of his very

 public allegations that he chose to assert against Doe and others in this federal lawsuit. Roe’s

 identity is already known to the defendants in this matter and Roe cannot demonstrate any risks

 of retaliatory physical or mental harm by the defendants. Roe has already alleged that he has

 suffered from alleged defamation making further identification of Roe unlikely to cause him

 harm.

    B. Factors 3-10 Also Weigh Against Plaintiff’s Continued Anonymity

    As detailed in Doe’s Memorandum of Law in Support of Defendant St. John’s University’s

 Motion to Dismiss the Amended Complaint to Address the Issues of Plaintiff’s Use of a

 Pseudonym in this Case and Lack of Jurisdiction Should St. John’s University’s Motion to

 Dismiss be Granted, dated June 29, 2020, the additional 8 factors set forth by the Second Circuit

 have been entirely ignored by Plaintiff but weigh against Plaintiff’s continued anonymity in this

 case.




                                                   5
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 9 of 13 PageID #: 536




         Factor 3: Whether identification presents other harms and the likely severity of
          those harms, including whether the injury litigated against would be incurred as a
          result of the disclosure of the plaintiff’s identity

          This factor only supports the use of a pseudonym where the need for anonymity is based

 on something more than “attenuated and speculative risks of harm.” United States v. UCB, Inc.,

 No. 14-CV-2218 (TPG), 2017 WL 838198, at *4 (S.D.N.Y. Mar. 3, 2017). For the reasons

 previously discussed in the first and second factors above, there is little risk of other harms or of

 incurring the injury litigated against.


         Factor 4: Whether the plaintiff is particularly vulnerable to the possible harms of
          disclosure particularly in light of his age

          The fourth factor also weighs against Plaintiff as he is an adult that has chosen to pursue

 this action against his former university and sexual assault victim. See A.B., 2018 WL 1935999,

 at *3.


         Factor 5: Whether the suit is challenging the actions of the government or that of
          private parties

          This suit is brought by a private party (Plaintiff Roe) against two private parties

 (Defendants St. John’s University and Doe). No governmental actions are being challenged.


         Factor 6: Whether the defendant is prejudiced by allowing the plaintiff to press his
          claims anonymously, whether the nature of the prejudice (if any) differs at any
          particular stage of the litigation, and whether any prejudice can be mitigated by the
          district court

          “Fundamental principles of fairness suggest that when a case involves potentially

 damaging allegations, plaintiffs who publicly accuse defendants of misconduct in civil suits

 should sue under their real names.” Doe v. Zinsou, No. 19 Civ. 7025 (ER), 2019 WL 3564582,

 at *7 (S.D.N.Y. Aug. 6, 2019). Roe’s anonymity will hamper Doe’s ability to defend against




                                                    6
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 10 of 13 PageID #: 537




  Roe’s defamation allegation, particularly with respect to her truth defense and challenging Roe’s

  credibility. See Doe v. Skyline Automobiles Inc., 375 F. Supp. 3d 401, 407 (S.D.N.Y. 2019).

         “Plaintiff’s anonymity would make it more difficult to obtain witnesses and witness

  testimony, Defendants would have less leverage in settlement negotiations, and Defendants

  would not be able to fully and adequately cross-examine the Plaintiff.” Id. at 407. Indeed,

  “allowing [Roe] to remain anonymous at trial would shield [him] from accountability before the

  jury for making meritless claims.” Doe v. Delta Airlines, Inc., 310 F.R.D. 222, 225 (S.D.N.Y.

  2015) (denying Plaintiff’s request to proceed pseudonymously at trial because she put her

  credibility at issue). The sixth factor weighs against Plaintiff’s confidentiality in this action.


        Factor 7: Whether the plaintif’s identity has thus far been kept confidential

         Plaintiff’s identity has never been confidential. As soon as Doe got Plaintiff Roe out of

  her dorm room (after he sexually assaulted her), Doe told her roommate, St. John’s University,

  the Paris Campus security guard, the Residence Assistant, the Residence Director, the Paris

  Campus administrators and the Paris Police. All of the students participating in the Study

  Abroad Program were also aware of Doe’s allegations against Roe. Doe was identifying Roe as

  her assailant and reporting Roe’s crime. Roe was also busy telling people about the incident and

  calling Doe a “liar” and a “slut.”

         When the students returned to the St. John’s Campus in Queens, they participated in the

  University’s investigation process and a hearing. Roe’s identity was made known to school

  administrators and members of conduct boards as well as to students who were interviewed as

  witnesses. The only time Plaintiff’s identity has been kept confidential is in this lawsuit.

  The seventh factor weighs strongly against Plaintiff’s confidentiality in this action. See A.B.,




                                                     7
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 11 of 13 PageID #: 538




  2018 WL 1935999, at *3 (finding that Plaintiff’s identity had not been kept confidential thus far

  and therefore, the seventh factor weighed strongly against Plaintiff).


        Factor 8: Whether the public’s interest in the litigation is furthered by requiring the
         plaintiff to disclose his identity

         “Where the litigation involves . . . particular actions and incidents, open

  proceedings nevertheless benefit the public as well as the parties and also serve the judicial

  interest in accurate fact-finding and fair adjudication.” Skyline Automobiles Inc., 375 F.

  Supp. 3d at 408 (quoting N. Jersey Media Grp. Inc. v. Doe Nos. 1-5, No. 12 Civ. 6152

  (VM) (KNF), 2012 WL 5899331, at *8 (S.D.N.Y. Nov. 26, 2012)). “This factor relates to

  the ‘general presumption that parties’ identities are public information,’” A.B. v. Hofstra

  Univ., No. 217CV5562 (DRH) (AYS), 2018 WL 1935986, at *3 (E.D.N.Y. Apr. 24,

  2018). This action involves particular incidents of sexual assault, a university’s response

  to the allegations of such sexual assaults, and alleged defamation by Doe (one of the

  sexual assault victims). The eighth factor weighs against Roe’s use of a pseudonym.


        Factor 9: Whether, because of the purely legal nature of the issues presented or
         otherwise, there is an atypically weak public interest in knowing the litigants’
         identities

         The ninth factor also weighs against Plaintiff’s use of a pseudonym because the issues

  presented here are not purely legal in nature. A.B., 2018 WL 1935999, at *3; Townes, 2020 WL

  2395159, at *6.


        Factor 10: Whether there are any alternative mechanisms for protecting the
         confidentiality of the plaintiff

         Alternative mechanisms for protecting the confidentiality of a plaintiff include the

  redaction of documents, sealing, protective orders, and a confidentiality agreement. See Skyline


                                                   8
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 12 of 13 PageID #: 539




  Automobiles Inc., 375 F. Supp. 3d at 408. “If a viable alternative to complete anonymity exists,

  this factor weighs against a finding for anonymity.” Doe v. Solera Capital LLC, No. 18 Civ.

  1769 (ER), 2019 WL 1437520, at *8 (S.D.N.Y. Mar. 31, 2019), reconsideration denied, 2019

  WL 5485210 (S.D.N.Y. Oct. 25, 2019) (citing Doe v. United States, 2017 U.S. Dist. LEXIS

  83745, at *5, 2017 WL 2389701 (S.D.N.Y. June 1, 2017)). The only time Plaintiff’s identity has

  been kept confidential is in this lawsuit and there are other means available to seal and protect

  any confidential information from public disclosure, none of which Plaintiff has attempted to

  utilize.

             All factors weigh against Roe proceeding anonymously in this action.


                                             CONCLUSION

             For the foregoing reasons, Defendant Jane Doe respectfully requests that:

                    1.     Should this Court grant Defendant St. John University’s Motion to

                           Dismiss, Defendant Jane Doe respectfully requests that this Court order

                           Plaintiff to proceed under his legal name, and discontinue the action in this

                           Court for lack of supplemental jurisdiction over Defendant Doe, along

                           with any other and/or further relief that this Court deems just and proper;

                           or

                    2.     Should this Court deny Defendant St. John’s Motion to Dismiss,

                           Defendant Jane Doe respectfully requests that this Court order Plaintiff to

                           proceed under his legal name and amend the case caption accordingly as

                           well as any other/and or further relief that this Court deems just and

                           proper.




                                                     9
Case 1:19-cv-04694-PKC-RER Document 41 Filed 08/14/20 Page 13 of 13 PageID #: 540




   Dated: August 14, 2020                   Respectfully submitted,
          New York, New York
                                            BAKER HOSTETLER LLP

                                            /s Melissa M. Carvalho
                                            Melissa M. Carvalho, Esq.
                                            Chardaie C. Charlemagne, Esq.
                                            45 Rockefeller Plaza
                                            New York, New York 10111
                                            Tel: 212.589.4200
                                            Fax: 212.589.4201

                                            Attorneys for Defendant Jane Doe




                                       10
